 EXHIBIT A

Proposed Order
                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE


    In re:                                               Chapter 11

    iMedia Brands, Inc., et al.,1                        Case No. 23-10852 (KBO)

                                                         (Jointly Administered)
                              Debtors.
                                                         Re: Docket No.

                                  ORDER AMENDING CASE CAPTION

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), pursuant to section

105(a) the Bankruptcy Code, Bankruptcy Rules 1005 and 2002, and Local Rule 9004-1,

authorizing the Debtors to amend the caption used in the Chapter 11 Cases, all as more fully set

forth in the Motion; and it appearing that the Court has jurisdiction to consider the Motion pursuant

to 28 U.S.C. §§ 1334 and 157, and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware dated February 29, 2012; and it appearing that

the Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final

order consistent with Article III of the United States Constitution; and it appearing that venue of

the Chapter 11 Cases and of the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it

appearing that due and adequate notice of the Motion has been given under the circumstances,

and that no other or further notice need be given; and after due deliberation, and good and



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      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
      number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
      Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
      (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
      FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
      Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
sufficient cause appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.       The Motion is granted to the extent set forth herein.

          2.       The caption of the Chapter 11 Cases shall be amended to read as follows:


                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE


      In re:                                                             Chapter 11

      Legacy IMBDS, Inc., et al.,1                                       Case No. 23-10852 (KBO)

                                                Debtors.                 (Jointly Administered)




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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number are: ValueVision Media Acquisitions, Inc. (8670); Legacy IMBDS, Inc. (3770);
         ValueVision Interactive, Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc.
         (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company,
         LLC (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011);
         and 867 Grand Avenue, LLC (2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie,
         MN 55344-3433.




          3.       The Clerk of Court is directed to make a docket entry in case number 23-10852

(KBO) substantially as follows: “An order has been entered in this case directing that the caption

of this case be amended, in accordance with the name change of iMedia Brands, Inc. to Legacy

IMBDS, Inc.”

          4.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

          5.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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